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          EXHIBIT 1
      Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 2 of 32 Page ID #:10
                                                                     ORIGINAL                                                 BY FA£,,„
                                              SUMMONS                                                                    FOR COURT USE ONLY
                                                                                                                     (SOLO PARA USO DE LA CORTE)
                                      (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                                         FILED
 DONALD J. TRUMP a.k.a. DAVID DENNISON, an individual,                                                             Superior Court of California
                                                                                                                      County of Los Aneeles
 (See Attachment SUM-200(A) to Summons)
YOU ARE BEING SUED BY PLAINTIFF:                                                                                             MAR 07 2018
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                             Sberri R. Cajter, Execution
                                                                                                                                                Officer/Clerk
 STEPHANIE CLIFFORD a.k.a. STORMY DANIELS a.k.a. PEGGY
 PETERSON, an individual                                                                                                                             , Deputy
                                                                                                                             Moses Soto
 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaimiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcaUfomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 IAVISO! Lo han demandado. Si no responds dentro da 30 dlas, la corte puede decidir en su contra sin escuchar su versidn. Lea la informacidn a
 continuacidn.
     Tiene 30 DlAS DE CALENDARIO despuds de que le entreguen esta citacidn ypapeles legates para presenter una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted puede user para su respuesta.
 Puede encontrar estos formularios de la corte ymds informacidn en el Centre de Ayuda de las Cortes de California (Vvww.sucorte.ca.gov/ en la
 biblioteca de leyes de su condado o en la corte que le quede mds cerca. Si no puede pagarla cuota de presentacidn, pida al secretario de la corte
 que le d6 un formulario de exencidn de pago de cuolas. Si no presenta su respuesta a liempo, puede perder el caso por incumplimiento y la corte le
 podrd quitar su sueido, dinero y bienes sin mds advertencia.
   Hay olros requisites legates. Es recomendable que Heme a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (Vvww.lawhelpcalifornia.org/ en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o ponidndose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los coslos exentos por imponer un gravamen sobre
 cuatquier recuperacidn de $10,000 6 mds de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and adekess of the court is:                                                                   CASE NUMBER:
                                                                                                        (Numero del Caso):
(El nombre y direccidn de la code es):
                                                                                                                               BC696568
LOS ANGELES SUPERIOR COURT
1 1 1 North Hill Street, Los Angeles, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccidn y el numero de teldfono del abogado del demandante, o del demandante que no tiene abogado, es):
Michael J. Avenatti, Avenatti & Associates APC, 520 Newport Center Dr Ste 1400 Newport Beach CA 92660

DATE:
(Fecha)        MAR 0 1                              SHERRIR. CARTER               Clerk, by   A/.                            M. Soto                    , Deputy
                                                                                  (Secretano)                                                            (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatidn use el formulario Proof of Service oif Summons, (POS-010)).
   LO
                                        NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
   '33                                  1. I       I as an individual defendant.
   LC>                                  2. |       | as the person sued under the fictitious name of (specify):



                                       3. I        I on behalf of (specify):
/S
 ol                                            under: I    I CCP 416.10 (corporation)                    I     1   CCP 416.60 (minor)
to                           "L
                                 OJ                   I    I CCP 416.20 (defunct corporation)
as                                :                                                                      I     I   CCP 416.70 (conservatee)
                             /«?/                     I    I CCP 416.40 (association or partnership) |         |   CCP 416.90 (authorized person)

 \W^S^JL
  X..* STC--
                                       A. I
                                                      I    I   other (specify):
                                                   I by personal delivery on (date):
                                                                                                                                                          Page 1 of 1
Form Adopted for Msndatocy Use
  Judical Coundl of California                                            SUMMONS                                               Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.CQurtinfQ.ca.gov
  SUM-100 (Rev. July 1, 2009)
              Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 3 of 32 Page ID #:11
                        ,v

                         a
                                                                                                                                   SUM-200(A)

                                                                                                    CASE NUMBER:
        SHORT TITLE:

    _ CLIFFORD v. TRUMP, et al.                                                                                    BC696568


                                                                 INSTRUCTIONS FOR USE
               This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
       - if this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
               Attachment form is attached."


        List additional parties (Check only one box. Use a separate page for,each type ofparty.):

          |           | Plaintiff       [7] Defendant    Q] Cross-Complainant   [^] Cross-Defendant

        ESSENTIAL CONSULTANTS, LLC, a Delaware Limited Liability Company, and DOES 1 through 10,
        inclusive




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              •Vs..


              h.O

              IS?




                                                                                                                      Page     2      of       2
                                                                                                                                           Page 1 of 1
     Form Adopted for Mandatory Use
       Judicial Council of California                   ADDITIONAL PARTIES ATTACHMENT
    SUM-200(A) |Rev. January 1, 2007)
                                                              Attachment to Summons
(Page   1   Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 4 of 32 Page ID #:12
            of    35)




        A          *




                       1   Michael J. Avenatti, Bar No. 206929
                           AVENATTI & ASSOCIATES, APC
                   2
                           mavenatti@eoalaw. com                                                        FILED
                   ^       520 Newport Center Drive, Suite 1400                                 Superior Court of California
                                                                                                  County of Los Angeles
                           Newport Beach, CA 92660
                   4       Tel:   (949) 706-7000                                                       MAR 06 2018
                           Fax:   (949) 706-7050
                   5                                                                     Sherri R. Gflrter, Executive Officer/Clerk of Court
                   ^       Attorneys for Plaintiff Stephanie Clifford                     By.                                  . Deputy
                           a.k.a. Stormy Daniels a.k.a. Peggy Peterson                           ""GloTtefta Robinson

                   7

                   8
                                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   9
                                                        FOR THE COUNTY OF LOS ANGELES
                  10

                  11       STEPHANIE CLIFFORD a.k.a. STORMY                   Case No.
                           DANIELS a.k.a. PEGGY PETERSON, an
                  12
                           individual,
                                                                              COMPLAINT FOR DECLARATORY
                  13
                                          Plaintiff,                          RELIEF
                  14
                                          vs.
                  15
                           DONALD J. TRUMP a.k.a. DAVID DENNIS ON,
                  16
                           an individual, ESSENTIAL CONSULTANTS,
                           LLC, a Delaware Limited Liability Company, and
                  17
                           DOES 1 through 10, inclusive
                  18
                                          Defendants.
                  19

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                                                                         COMPLAINT
(page 2   Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 5 of 32 Page ID #:13
          of




                                                                                  CITYCASEj
                                                                                                  BC694548
                                                                                  LEA/OEFfi :

                                                                                 RECEIPT »:
                                                                                             CCH5053761
                                                                                 DATE PAID              34
                                                                                           : Q3.-'Q6713
                                                                                 PAYMENT J              03?46 PM
                                                                                            $435.00
                                                                                 RECEIVED?                       310
                                                                                        CHECKs
                                                                                       CASH:                 $435.00
                                                                                       CHANCE s               $0.00
                                                                                       C-ARD j                $0.00
                                                                                                              $0.00




                                                          Do o# 1 *aSe# 2   - Doo ID = 1730293032 - Doc Ty
                                                                                                           pe
                                                                                                              = OTHKB
(Page   3   Case
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                    V




                        1
                                    Plaintiff Stephanie Clifford a.k.a. Stormy Daniels a.k.a. Peggy Peterson ("Ms. Clifford"'' or
                        2
                            "Plaintiff") hereby alleges the following:
                        3

                     4
                                                                         THE PARTIES
                        5
                                    1.      Plaintiff Ms. Clifford, an individual, is a resident of the State of Texas.
                        6
                                    2.      Defendant Donald J. Trump a.k.a. David Dennison ("Mr. Trump"), an individual, is a
                        7
                            resident of the District of Columbia (among other places).
                        8
                                    3.      Defendant Essential Consultants, LLC ("EC") is a Delaware limited liability company
                        9
                            formed on October 17, 2016.
                    10
                                    4.      Mr. Trump and EC together shall be referred to hereafter as "Defendants."
                    11
                                    5.      The true names and capacities of the defendants DOES              1 through 10, inclusive,
                    12
                            whether individual, plural, corporate, partnership, associate or otherwise, are not known to Plaintiff,
                    13
                            who therefore sues said defendants by such fictitious names.         Plaintiff will seek leave of court to
                    14
                            amend this Complaint to show the true names and capacities of defendants DOES 1 through 10,
                    15
                            inclusive, when the same have been ascertained.
                    16
                                    6.      Plaintiff is also informed and believe and thereon alleges that DOES 1 to 10 were the
                    17
                            agents, principals, and/or alter egos of Defendants, at all times herein relevant, and that they are
                    18
                            therefore liable for the acts and omissions of Defendants.
                    19

                    20
                                                                JURISDICTION AND VENUE
                    21
                                    7.      Jurisdiction for this matter properly lies with this Court because Plaintiff seeks
                    22
                            declaratory relief.
            W 23
                                    8.      Venue is appropriate in the County of Los Angeles, and this Court has personal
            jS?
            <$< 24
             •i.            jurisdiction over Defendants and each of them, by reason of the fact that, among other things, (a) the
            Iiv.5
            ^ 25
            !-jw<
                            alleged agreement that is at issue in this Complaint was purportedly made and negotiated, at least in
                    26
                            substantial part, in the County of Los Angeles, and (b) many of the events giving rise to this action
                    27
                            arose in California, including within the County of Los Angeles.
                    28


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                                                                           COMPLAINT
(Page 4   Case
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                     1
                                                               FACTUAL BACKGROUND
                     2
                                    9.    Ms. Clifford began an intimate relationship with Mr. Trump in the Summer of 2006 in
                     3                                                                                             ...
                         Lake Tahoe and continued her relationship with Mr. Trump well into the year 2007. This relationship
                     4
                         included, among other things, at least one "meeting" with Mr. Trump in a bungalow at the Beverly

                     ^ Hills Hotel located within Los Angeles County.
                     6
                                    10.   In 2015, Mr. Trump announced his candidacy for President of the United States,
                     7
                                    11.   On July 19, 2016, Mr. Trump secured the Republican Party nomination for President.
                     8
                                    12.   On October 7, 2016, the Washington Post published a video, now infamously known as
                     9
                         the Access Hollywood Tape , depicting Mr. Trump making lewd remarks about women.                In it, Mr.
                    10
                         Trump described his attempt to seduce a married woman and how he may start kissing a woman that
                    11
                         he and his companion were about to meet. He then added: "I don't even wait. And when you're a
                    12
                         star, they let you do it, you can do anything . . ."
                    13
                                    13.   Within days of the publication of the Access Hollywood Tape, several women came
                    14
                         forward publicly to tell their personal stories about their sexual encounters with Mr. Trump.
                    15
                                    14.   Around this time, Ms. Clifford likewise sought to share details concerning her
                    16
                         relationship and encounters with Mr. Trump with various media outlets.
                    17
                                    15.   As a result of Ms. Clifford's efforts aimed at publicly disclosing her story and her
                    18
                         communications with various media outlets, Ms. Clifford's plans came to the attention of Mr. Trump
                    19
                         and his campaign, including Mr. Michael Cohen, an attorney licensed in the State of New York. Mr.
                    20
                         Cohen worked as the "top attorney" at the Trump Organization from 2007 until after the election and
                    21
                         presently serves as Mr. Trump's personal attorney. He is also generally referred to as Mr. Trump's
                    22
                         "fixer."
          iiv 23
                                    16.   After discovering Ms. Clifford's plans, Mr. Trump, with the assistance of his attorney
          •p
                    24
           v*            Mr. Cohen, aggressively sought to silence Ms. Clifford as part of an effort to avoid her telling the
          I".'..1
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                         truth, thus helping to ensure he won the Presidential Election.   Mr. Cohen subsequently prepared a
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                         draft non-disclosure agreement and presented it to Ms. Clifford and her attorney (the "Hush
                    27
                         Agreement").     Ms. Clifford at the time was represented by counsel in California whose office is
                    28
                         located in Beverly Hills, California within the County of Los Angeles.

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                                                                         COMPLAINT
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    V.




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                               17.     The parties named in the Hush Agreement were Ms. Clifford, Mr. Trump, and Essential
                   2
                       Consultants LLC.     As noted above, Essential Consultants LLC ("EC") was formed on October 17,
                   3
                       2016, just weeks before the 2016 presidential election. On information and belief, EC was created by
                   4
                       Mr. Cohen with Mr. Trump's knowledge for one purpose - to hide the true source of funds to be used

                   ^ to pay Ms. Clifford, thus further insulating Mr. Trump from later discovery and scrutiny.
                   6
                               18.     By design of Mr. Cohen, the Hush Agreement used aliases to refer to Ms. Clifford and
                   7
                       Mr. Trump.    Specifically, Ms. Clifford was referred to by the alias "Peggy Peterson" or "PP." Mr.
                   8
                       Trump, on the other hand, was referred to by the alias "David Dennison" or "DD."
                   9
                               19.     Attached hereto as Exhibit 1 is a true and correct copy of the Hush Agreement, titled
                  10
                       Confidential Settlement Agreement and Mutual Release; Assignment of Copyright and Non-
                  11
                       Disparagment [sic] Agreement. Exhibit 1 is incorporated herein by this reference and made a part of
                  12
                       this Complaint as if fully set forth herein.
                  13
                               20.     Attached hereto as Exhibit 2 is a true and correct copy of the draft Side Letter
                  14
                       Agreement, which was Exhibit A to the Hush Agreement.           Exhibit 2 is incorporated herein by this
                  15
                       reference and made a part of this Complaint as if fully set forth herein.
                  16
                               21.     Importantly, the Hush Agreement imposed various conditions and obligations not only
                  17
                       on Ms. Clifford, but also on Mr. Trump. The agreement also required the signature of all parties to the
                  18
                       agreement, including that of Mr. Trump. Moreover, as is customary, it was widely understood at all
                  19
                       times that unless all of the parties signed the documents as required, the Hush Agreement, together
                  20
                       with all of its terms and conditions, was null and void.
                  21
                               22.     On or about October 28, 2016, only days before the election, two of the parties signed

                  22
                       the Hush Agreement - Ms. Clifford and Mr. Cohen (on behalf of EC). Mr. Trump, however, did not
          >P
          i'.V    23
                       sign the agreement, thus rendering it legally null and void and of no consequence. On information and
          >$> 24
                       belief, despite having detailed knowledge of the Hush Agreement and its terms, including the
          I*,1
                  25
          |«,Wr        proposed payment of monies to Ms. Clifford and the routing of those monies through EC, Mr. Trump
                  26
                       purposely did not sign the agreement so he could later, if need be, publicly disavow any knowledge of
                  27
                       the Hush Agreement and Ms. Clifford.
                  28


                                                                           -3-
                                                                      COMPLAINT
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                                    23.     Despite Mr. Trump's failure to sign the Hush Agreement, Mr. Cohen proceeded to
                        2       '
                            cause $130,000.00 to be wired to the trust account of Ms. Clifford's attorney. He did so even though
                        3                                                                                                .
                            there was no legal agreement and thus no written nondisclosure agreement whereby Ms. Clifford was
                        4
                            restricted from disclosing the truth about Mr. Trump.
                        5
                                    24.     Mr. Trump was elected President of the United States on November 8, 2016.
                        6
                                    25.     In January 2018, certain details of the draft Hush Agreement emerged in the news
                        7
                            media, including, among other things, the existence of the draft agreement, the parties to the draft
                        8
                            agreement, and the $130,000.00 payment provided for under the draft agreement.          Also in January
                        9                                                                                       .                 .
                            2018, and concerned the truth would be disclosed, Mr. Cohen, through intimidation and coercive
                    10
                            tactics, forced Ms. Clifford into signing a false statement wherein she stated that reports of her
                    11
                            relationship with Mr. Trump were false.
                    12
                                    26.     On or about February 13, 2018, Mr. Cohen issued a public statement regarding Ms.
                    13
                            Clifford, the existence of the Hush Agreement, and details concerning the Hush Agreement. He did so
                    14
                            without any consent by Ms. Clifford, thus evidencing Mr. Cohen's apparent position (at least in that
                    15
                            context) that no binding agreement was in place. Among other things, Mr. Cohen stated: "In a private
                    16
                            transaction in 2016, I used my own personal funds to facilitate a payment of $130,000 to Ms.
                    17
                            Stephanie Clifford.   Neither the Trump Organization nor the Trump campaign was a party to the
                    18
                            transaction with Ms. Clifford, and neither reimbursed me for the payment, either directly or
                    19
                            indirectly."   Mr. Cohen concluded his statement with lawyer speak:    "Just because something isn't
                    20
                            true doesn't mean that it can't cause you harm or damage.        I will always protect Mr.       Trump."
                    21
                            (emphasis added).
                    22
                                    27.     Importantly, at no time did Mr. Cohen claim Ms. Clifford did not have an intimate
            p
            !y-:' 23
                            relationship with Mr. Trump. Indeed, were he to make such a statement, it would be patently false.
            p
            P- 24
             *.v.                   28.     Because the agreement was never formed and/or is null and void, no contractual
            iSr< 25
            |->r.
                            obligations were imposed on any of the parties to the agreement, including any obligations to keep
            CAf

                    26
                            information confidential. Moreover, to the extent any such obligations did exist, they were breached
                    27
                            and/or excused by Mr. Cohen and his public statements to the media.                               '
                    28


                                                                              -4-
                                                                         COMPLAINT
(Page   7   Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 10 of 32 Page ID #:18
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                                       29.   To be clear, the attempts to intimidate Ms. Clifford into silence and "shut her up" in
                         2
                             order to "protect Mr. Trump" continue unabated. For example, only days ago on or about February
                         3
                             27, 2018, Mr. Trump's attorney Mr. Cohen surreptitiously initiated a bogus arbitration proceeding
                         4
                             against Ms. Clifford in Los Angeles. Remarkably, he did so without even providing Ms. Clifford with

                         ^ notice of the proceeding and basic due process.
                         6
                                       30.   Put simply, considerable steps have been taken by Mr. Cohen in the last week to
                         7
                             silence Ms. Clifford through the use of an improper and procedurally defective arbitration proceeding
                         8
                             hidden from public view.      The extent of Mr. Trump's involvement in these efforts is presently
                         9
                             unknown, but it strains credibility to conclude that Mr. Cohen is acting on his own accord without the
                     10
                             express approval and knowledge of his client Mr. Trump.                                     .
                     11
                                       31.   Indeed, Rule 1.4 of New York Rules of Professional Conduct governing attorneys has
                     12
                             required Mr. Cohen at all times to promptly communicate all material information relating to the
                     13
                             matter to Mr. Trump, including but not limited to "any decision or circumstance with respect to which
                     14
                             [Mr. Trump's] informed consent [was] required" and "material developments in the matter including
                     15
                             settlement or plea offers." Moreover, this same Rule required Mr. Cohen at all times to "reasonably
                     16
                             consult with [Mr. Trump] about the means by which [his] objectives are to be accomplished" and to

                     17
                             "keep [Mr. Trump] reasonably informed about the status of the matter."
                     18
                                       32.   Accordingly, unless Mr. Cohen flagrantly violated his ethical obligations and the most

                     19
                             basic rules governing his license to practice law (which is highly unlikely), there can be no doubt that
                     20
                             Mr. Trump at all times has been fully aware of the negotiations with Ms. Clifford, the existence and
                     21
                             terms of the Hush Agreement, the payment of the $130,000.00, the use of EC as a conduit, and the
                     22
                             recent attempts to intimidate and silence Ms. Clifford by way of the bogus arbitration proceeding.
            (£
                     23
                                       33.   Because there was never a valid agreement and thus, no agreement to arbitrate, any
                     OA
            i$' 24
                             subsequent order obtained by Mr. Cohen and/or Mr. Trump in arbitration is of no consequence or
            I'A.1'   <"*c
                     25
            J-K-             effect.
                     26

                     27

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                                                                               -5-

                                                                          COMPLAINT
(Page   8   Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 11 of 32 Page ID #:19
            of       35)




                      1
                                                                FIRST CAUSE OF ACTION
                      2
                                                                      Declaratory Relief

                      3
                                                                   (Against all Defendants)
                      4
                                   34.    Plaintiff restates and re-alleges each and every allegation in Paragraphs 1 through 33

                      ^ above as if fully set forth herein.
                      6
                                   35.    This action concerns the legal significance, if any, of the documents attached hereto as
                      7
                           Exhibit 1, entitled Confidential Settlement Agreement and Mutual Release; Assignment of Copyright
                      8
                           and Non-Disparagment [sic] Agreement, and Exhibit 2, entitled Side Letter Agreement.
                      9
                                   36.    California Code of Civil Procedure section 1060 authorizes declaratory relief for any
                     10
                           person who desires a declaration of rights or duties with respect to one another.        In cases of actual
                     11
                           controversy relating to the legal rights and duties of the respective parties, such a person may seek a
                     12
                           judicial declaration of his or her rights and duties relative to an instrument or contract, or alleged
                     13
                           contract, including a determination of any question of construction or validity arising under the
                     14
                           instrument or contract, or alleged contract.   This includes a determination of whether a contract was
                     15
                           ever formed.
                     16
                                   37.    An actual controversy exists between Plaintiff and Defendants as to their rights and
                     17
                           duties to each other. Accordingly, a declaration is necessary and proper at this time.
                     18
                                   38.    Specifically, Plaintiff seeks an order of this Court declaring that the agreements in the
                     19
                           forms set out in Exhibits 1 and 2 between Plaintiff and Defendants were never formed, and therefore
                     20
                           do not exist, because, among other things, Mr. Trump never signed the agreements.             Nor did Mr.
                     21
                           Trump provide any other valid consideration.      He thus never assented to the duties, obligations, and
                     22
                           conditions the agreements purportedly imposed upon him. Plaintiff contends that, as a result, she is
             ^ 23
                           not bound by any of the duties, obligations, or conditions set forth in Exhibits 1 and 2. Moreover, as a
                     24
                           further result, there is no agreement to arbitrate between the parties.

             -a? 25
             l-v^'                 39.    In the alternative, Plaintiff seeks an order of this Court declaring that the agreements in
                     26
                           the forms set out in Exhibits 1 and 2 are invalid, unenforceable, and/or void under the doctrine of
                     27
                           unconscionability.    Plaintiff contends that, as a result, she is not bound by any of the duties,
                     28


                                                                               -6-
                                                                          COMPLA1NT
(Page   9   Case 2:18-cv-02217-SJO-FFM Document 1-1 Filed 03/16/18 Page 12 of 32 Page ID #:20
            of     35)




    « ,




                    1
                         obligations, or conditions set forth in Exhibits 1 and 2.      Moreover, as a further result, there is no
                    2
                         agreement to arbitrate between the parties.
                    3
                                40.     In the further alternative, Plaintiff seeks an order of this Court declaring that the
                    4                                                                                                  .
                         agreements in the forms set out in Exhibits 1 and 2 are invalid, unenforceable, and/or void because

                    ^ they are illegal and/or violate public policy. Plaintiff contends that, as a result, she is not bound by
                    ^ any of the duties, obligations, or conditions set forth in Exhibits 1 and 2. Moreover, as a further result,
                    7
                         there is no agreement to arbitrate between the parties.
                    8
                                41.     Defendants dispute these contentions.
                    9
                                42.     Accordingly, Ms. Clifford desires a judicial determination of her rights and duties with
                   10
                         respect to the alleged agreements in the forms set out in Exhibits 1 and 2.
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                   12
                                                                 PRAYER FOR RELIEF
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                                 WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, declaring
                   14
                         that no agreement was formed between the parties, or in the alternative, to the extent an agreement
                   15
                         was formed, it is void, invalid, or otherwise unenforceable.
                   16

                   17
                                                        ON THE FIRST CAUSE OF ACTION
                   18
                                 1.     For a judgment declaring that no agreement was formed between the parties, or in the
                   19
                         alternative, to the extent an agreement was formed, it is void, invalid, or otherwise unenforceable.
                   20
                                 2.     For costs of suit; and
                   21
                                 3.     For such other and further relief as the Court may deem just and proper.
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                         DATED: March 6, 2018                          AVENATTI & ASSOCIATES, APC
            i'P 24

            •tP 25

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                                                                       MICHAEL J. AVENATTI

                   27
                                                                       Attorneys for Plaintiff


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                                                                       COMPLAINT
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                     EXHIBIT 1
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                                           CONFIDENTIAL SETTLEMENT AGREEMENT
                                           AND MUTUAL RELEASE; ASSIGNMENT OF
                                            COPYRIGHT AND NON-DISPARAGMENT
                                                      AGREEMENT


                             1.0    THE PARTIES

                             1.1    This Settlement Agreement and Mutual Release (hereinafter, this "Agreement") is
                     made and deemed effective as of the          ' day of October, 2016, by and between "EC,
                     LLC" and/or DAVID DENNISON,~(5d), on the one part, and PEGGY PETERSON, (PP), on
                     the other part, ("EC, LLC," "DD" and "PP" are pseudonyms whose true identity will be
                     acknowledged in a Side Letter Agreement attached hereto as "EXHIBIT A") This Agreement is
                     entered into with reference to the facts and circumstances contained in the following recitals.


                             2.0    RECITALS

                             2.1     Prior to entering into this Agreement, PP came into possession of certain
                     "Confidential Information" pertaining to DD, as more fully defined below, only some of which is
                     in tangible form, which includes, but is not limited to information, certain still images and/or text
                     messages which were authored by or relate to DD (collectively the "Property", each as more
                     fully defined below but which all are included and attached hereto as Exhibit "1" to the Side
                     Letter Agreement).


                             2.2    (a)     PP claims that she has been damaged by DD's alleged actions against her,
                     including but not limited to tort claims proximately causing injury to her person and other related
                     claims. DD denies all such claims. (Hereinafter "PP Claims").

                                     (b)    DD claims that he has been damaged by PP's alleged actions against him,
                     including but not limited to the alleged threatened selling, transferring, licensing, publicly
                     disseminating and/or exploiting the Images and/or Property and/or other Confidential
                     Information relating to DD, all without the knowledge, consent or authorization of DD. PP
                     denies all such claims. (Hereinafter "DD Claims").

                                     (c)     The PP Claims and the DD Claims are hereinafter collectively referred to
                     as "The Released Claims."

                             2.3     DD desires to acquire, and PP desires to sell, transfer and tum-over to DD, any
                     and all tangible copies of the Property and any and all physical and intellectual property rights in
                     and to all of the Property. As a condition of DD releasing any claims against PP related to this
                     matter, PP agrees to sell and transfer to DD all and each of her rights in and to such Property. PP
             s?      agrees to deliver each and every existing copy of all tangible Property to DD (and permanently
                     delete any electronic copies that can not be transferred), and agrees that she shall not possess, nor
             •f      directly nor indirectly disclose convey, transfer or assign Property or any Confidential
             iv-'1   Information to any Third Party, as more fully provided herein.

                             2.4    It is the intention of the Parties that Confidential Information, as defined herein,
                     shall remain confidential as expressly provided hereinbelow. The Parties expressly
                     acknowledge, agree and understand that the Confidentiality provisions herein and the




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                        representations and warranties made by PP herein and the execution by her of the Assignment &
                        Transfer of Copyright are at the essence of this Settlement Agreement and are a material
                        inducement to DD's entry into this Agreement, absent which DD would not enter into this
                        Agreement DD expects and requires that PP never communicate with him or his family for any
                        reason whatsoever.

                                 2.5     The Parties wish to avoid the time, expense, and inconvenience of potential
                        litigation, and to resolve any and all disputes and potential legal claims which exist or may exist
                        between them, as of the date of this Agreement including but not limited to the PP Claims and/or
                        the DD Claims. The Parties agree that the claims released include but are not limited to DD's
                        Claims against PP as relates to PP having allowed, whether intentionally, unintentionally or
                        negligently, anyone else other than those listed in section 4.2 herein below to become aware of
                        the existence of and content of the Property, to have gained possession of the Property, and to
                        PP's having allegedly engaged in efforts to disclose, disseminate and/or commercially exploit the
                        Images and/or Property and/or Confidential Information, and any harm suffered by DD
                        therefrom. The Parties agree that the claims released include but are not limited to PP's Claims
                        against DD as relates to DD having allowed, whether intentionally, unintentionally or
                        negligently, anyone else to have interfered with PP's right to privacy or any other right that PP
                        may possess.


                                2.6    These Recitals are essential, integral and material terms ofthis Agreement, and
                        this Agreement shall be construed with respect thereto. The Parties enter into this Agreement in
                        consideration of the promises, covenants and conditions set forth herein, and for good and
                        valuable consideration, the receipt of which is hereby acknowledged. It is an essential element of
                        this Settlement Agreement that the Parties shall never directly or indirectly communicate wife
                        each other or attempt to contact their respective families. This matter, fee existence of this
                        Settlement Agreement and its terms are strictly confidential.

                                NOW, THEREFORE, the Parties adopt the foregoing recitals as a statement of their
                        intent and in consideration of the promises and covenants contained herein, and further agree as
                        follows:




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                              3.0      SETTLEMENT TERMS

                                    3.0.1.1 EC. LLC SHALL PAY TO PP $130.000.00 U.S.D. AS FOLLOWS-.

                                       3.0.1.1.1      $130,000.00 USD shall be wired into PP's Attorney's Attorney Client
                                                      Trust Account on or before 1600 hrs. PST on 10/27/16.(Hereinafter
                                                      "Gross Settlement Amount"). PP's Attorney's Wiring Instructions are:

                                                      Bank Name:                      City National Bank
                                                      Bank Address:                   8641 Wilshire Blvd.
                                                                                      Beverly Hills, CA 90211
                                                      ABA Routing No:                 122016066
                                                      Beneficiary Account Name:       Keith M, Davidson & Associates,
                                                                                      PLC, Attorney Client Trust Account
                                                      Beneficiary Account No:         600106201
                                                      Beneficiary Address:            8383 Wilshire Blvd. Suite 510
                                                                                      Beverly Hills, CA 90211
                                                      SWIFT Code:                     CINAUS6L



                                       3.0. 1 .1 .2   Keith M. Davidson, Esq. shall receive the Gross Settlement Amount in
                                                      Trust. No portion of the Gross Settlement Amount shall be disbursed
                                                      by Attorney for PP unless and until PP executes all required
                                                      Settlement Documents.

                             3. 1     Undertakings & Obligations bv PP. PP will do each of the following by 11/01/16:

                                      (a)        PP shall execute this Agreement and return a signed copy to DD:

                                    (b)     PP shall transfer and/or assign any and all rights in and to the Property to
                     DD (as set forth hereinbelow), and execute an Assignment & Transfer of Copyright
                                                                                                            , in the form
                     attached hereto, and return a signed copy of same to DD's counsel;

                                      (c)    PP shall deliver to DD every existing copy of all tangible Property. PP
                     .shall completely divest herself of any and all artistic media, impressions, paintings, video
                      images, still images, e-mail messages, text messages, Instagram message, facebook posting
                                                                                                                      or
                      any other type of creation by DD. PP shall transfer all physical, ownership and intellectua
                                                                                                                   l,
                      property rights to DD;


                                                                (1)     PP shall deliver to DD any and all non-privileged
                     correspondence concerning or related to DD between PP and any 3rd party.
             I'rV
                                     (d)     PP shall not, at any time from the date of this Agreement forward, directly
                     or indirectly disclose or disseminate any of the Property or any Confidential Informatio
                                                                                                                n
             •1:
                     (including confirmation of the fact that it exists or ever existed, and/or confirming any
                                                                                                               rumors as
                     to any such existence) to any third party, as more fully provided herein.
             |J*'<

                                     (e)    PP shall provide to DD (to the extent not already done so and set forth in
                     paragraph 4.2 hereinbelow), summary details disclosing to whom PP (or anyone else
                                                                                                            on PP's
                     behalf) disclosed, displayed to, disseminated, transferred to, provided a copy to, and/or

                                                      ~~               Page2
                                                                                                                            DD
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                    distributed, sold, licensed or otherwise sought to have commercially exploit,
                                                                                                  the Images and/or
                    Property and/or any Confidential Information.

                                    (f)      PP shall provide to DD's counsel the names and contact information
                                                                                                                of
                    each and any persons or entities who: (1) PP has provided to or
                                                                                    who otherwise obtained
                    possession of the original and/or any copies of any of the Images and/or
                                                                                             any Property, if any, (ii)
                    to whom PP has scanned the Images and/or any Property at
                                                                                  any time, and (iii) to whom PP
                    knows had, has or may potentially have possession of a copy of
                                                                                      the Images and/or any Property
                    at any time, including but not limited to the present time (and
                                                                                    specify with detail to which of the
                    referenced categories (i.e., possession, shown, past, present, etc.) any
                                                                                             nama corresponds, the
                    name so relates).


                                  (g)    PP shall provide to DD's counsel copies of any agreements and/or
                                                                                                               other
                    documentation in PP's possession, custody or control, if any, regardin
                                                                                           g (e) and/or (f) above, that
                    evidences who has or may have been provided a copy of any of the
                                                                                        Property.

                            3-2     Transfer of Property Rights to DP. In further consideration for the
                                                                                                        promises,
                    covenants and consideration herein, PP hereby transfers and
                                                                                conveys to DD all of PP's
                   respective rights, title and interest in and to the Property, and any
                                                                                           and all physical and intellectual
                   property rights related thereto. Without limiting the generality
                                                                                        of the foregoing, PP does hereby
                   sell, assign, and transfer to DD, his successors and assigns, througho
                                                                                               ut the universe in perpetuity,
                   all of PP's entire right, title, and interest (including, without limitatio
                                                                                               n, all copyrights and all
                   extensions and renewals of copyrights), of whatever kind or nature
                                                                                             in and to the Property,
                   without reservation, condition or limitation, whether or not such rights
                                                                                            are now known,
                   recognized or contemplated, and the complete, unconditional
                                                                                    and unencumbered ownership and
                   all possessory interest and rights in and to the Property, which
                                                                                     includes, but is not limited to the
                   originals, copies, negatives, prints, positive, proof sheets, CD-rom
                                                                                         s, DVD-roms, duplicates,
                   outtake and the results of any other means of exhibiting, reproduc
                                                                                        ing, storing, recording and/or
                   archiving any of the Property or related material, together with all
                                                                                        rights of action and claims for
                   damages and benefits arising because of any infringement of the copyrigh
                                                                                                t to the Property, and
                   assigns and releases to DD any and all other proprietary rights and usage
                                                                                               rights PP may own or
                   hold in the copyright and/or Property, or any other right in or to the Property
                                                                                                   . PP assigns and
                   transfers to DD all of the rights herein granted, without reservation, conditio
                                                                                                   n or limitation, and
                   agrees that PP reserves no right of any kind, nature or description related
                                                                                               to the Property and
                   contents therein. Notwithstanding the foregoing, if any of the rights herein
                                                                                                granted are subject to
                   termination under section 203 of the Copyright Act, or any similar provisio
                                                                                               ns of the Act or
                   subsequent amendments thereof, PP hereby agrees to re-grant such rights to DD
                                                                                                         immediately
                   upon such termination. All rights granted herein or agreed to be granted hereund
                                                                                                          er shall vest in
                   DD immediately and shall remain vested in perpetuity. DD shall have the
                                                                                                  right to freely assign,
                   sell, transfer or destroy the Property as he desires. DD shall have the right to register
                                                                                                               sole
                   copyright in and to any of the Property with the US Copyright Office. DD shall
                                                                                                         also have the
                   right, in respect to the Property, to add to, subtract from, change, arrange, revise,
                                                                                                          adapt, into any
                   and all form of expression or tangible communication, and the right to combine any
           iW
                                                                                                          of the
           'A.
                   Property with any other works of any kind and/or to create derivative works with
           CP                                                                                           any of die
                   Property, and to do with it as she so deems. To the fullest extent allowable under the
                                                                                                            applicable
                   law, PP shall irrevocably waive and assign to DD any of PP's so-called ''moral
           iv,'J                                                                                     rights" or "droit
           tp      moral" (laws for the protection of copyrights outside of the United States), if any,
           i-y-
                                                                                                        or any similar
                   rights under any principles of law which PP may now have or later have in the Property
           •:p                                                                                                . With
                   resi       and in furtherance of die above, PP agrees to and shall execute and deliver to DD
                                                                                                                   an
                                                                  Pagc3
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                            "Assignment & Transfer of Copyright", in the form attached hereto as Exhibit "B" For greater
                            certainty the foregoing assignment shall be applicable worldwide.

                                            3.2.1 Notwithstanding the foregoing paragraph 3,2, and without in anyway
                            limiting or diminishing from the full transfer and assignment of rights therein without
                            reservation, the Parties understand the purpose of the transfer of rights is to provide DD the
                            fullest possible ability and remedies to prevent and protect against any publication and/or
                            dissemination of the Property.


                                     3,3     Delivery of the Property to DD. Concurrently upon execution of this Agreement,
                            PP, as applicable, shall deliver to DD, by delivery to his counsel herein, all of the Property which
                            is embodied in tangible form (all originals and duplicates), whether documents, canvasses, paper
                            art, digital copies, letters, prints, electronic data, films, tapes, CD-Roms, DVD-Roms, Images
                            recording tapes, photographs, negatives, originals, duplicates, contact sheets, audio recordings,
                            Images recordings, magnetic data, computerized data, digital recordings, or other recorded
                            medium or any other format of embodying information or data. Without limiting the generality
                            of the foregoing, such tangible Property shall include all documents as defined by California
                            Evidence Code §250 which contain any of the Property. PP represents and warrants that the
                            materials delivered pursuant to the terms of this Paragraph 3.3 comprise the totality of all
                            existing originals and duplicates of all Property in any tangible form, whether within their
                            possession, custody or control, and including otherwise (and that PP knows of no other copies or
                           possible or potential copies not in PP's possession and control and delivered pursuant to this
                           paragraph), and that upon such delivery to DD, PP shall not maintain possession, custody or
                           control of any copy of all or any portion of any tangible Property. The Property Delivered under
                           this Paragraph shall become Exhibit 1 to the Side Letter Agreement. For avoidance of any doubt,
                           PP, nor her attorney are entitled to retain possession of said Property after execution of this
                           Agreement. The retention of said Property by PP is a material breach of this agreement.

                                           3.3. 1  This Agreement is conditioned on PP's compliance with each and every
                           term of die Settlement Agreement including Paragraph 3.3 and the personal verification by DD
                           or his attorney of the Images and that the Images are comprised of and captures the content
                           previously represented to his counsel to exist and be captured therein (i.e., text messages
                           between PP and DD)), all of which terms are essential and material.


                                   4-0    CONFIDENTIALITY & REPRESENTATIONS & WARRANTIES.

                                  4.1     Definition of Confidential information "Confidential Information" means and
                           includes each and all of the following;

                             .             (a)     All intangible information pertaining to DD and/or his fhmily, (including
                           but not limited to his children or any alleged children or any of his alleged sexual partners,
                           alleged sexual actions or alleged sexual conduct or related matters ),and/or friends learned,
                           obtained, or acquired by PP, including without limitation information contained in letters, e
             i;*.1
                           mails, text messages, agreements, documents, audio or Images recordings, electronic data, and
             'f            photographs;

             h>.>
             iS1                          (b)    All intangible information pertaining to the existence and content of the
             i-v-
                           Property;
             S*




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                                                                                                                          DD
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                                  (c)     All intangible private information (i.e., information not generally available
                    to and/or known by the general public) relating and/or pertaining to DD, including without
                    limitation DD's business information, familial information, any of his alleged sexual partners,
                    alleged sexual actions or alleged sexual conduct, related matters or paternity information, legal
                    matters, contractual information, personal information, private social life, lifestyle, private
                    conduct, (all information/items in 4.1 "(a)", "(b)" and "(c)" are sometimes collectively referred
                    to as, "Intangible Confidential Information");

                                   (d)     All tangible materials of any land containing information pertaining to DD
                    learned, obtained, participated or acquired by PP, including without limitation letters,
                    agreements, documents, audio or Images recordings, electronic data, and photographs, canvas
                    art, paper art, or art in any other form on any media. The Images and Photos and all
                    information/items in 4.1(d) are collectively referred to as, die "Property" and/or the "Tangible
                    Confidential Information");

                           4.2     PP's Representations A Warranties Regarding Prior Disclosures of Tangible
                    Confidential Information. PP represents and warrants that prior to entry into this Agreement, PP
                    has directly or indirectly disclosed any Tangible an/or Intangible Confidential Information (i.e.,
                    any of the Property), to any Third Party, including without limitation disclosure or indirect
                    disclosure of the content of such Confidential Information in tangible form, other than the
                    following persons or entities to whom PP has made such prior disclosures (herein "PP Disclosed
                    Individuals/Entities"):


                           a)

                                                        'a jy~

                           C)                        CSA


                           d)                    Miumj&P-
                           e)

                           f)

                           g)

                          b)

                           0

                           PP shall not be responsible for any subsequent public disclosure of any of the
                   Confidential Information (a) attributable directly to each of them; and/or (b) not disclosed
                   hereinabove as a previously disclosed PP Disclosed Individuals/Entities, and any such disclosure
                   shall be deemed a breach of this Agreement by PP. For greater clarity, PP must not induce,
             S     promote or actively inspire anyone to disclose Confidential Information.




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                                                                                                                   DD
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                             4.3     Representations & Warranties and Agreements.

                                    (a)     Representations & Warranties and Agreements Bv DP. The following
                      agreements, warranties and representations are made by DD as material inducements to PP to
                      enter into this Agreement, and each Party acknowledges that she/he is executing this Agreement
                      in reliance thereon:

                                     (b)      DD warrants and represents that, as relates to or in connection with any of
                      PP's attempts to sell, exploit and/or disseminate tire Property prior to the date of this Agreement,
                     DD and his counsel will refrain (i) from pursuing any civil action against PP, and/or (ii) absent a
                     direct inquiry from law enforcement, from disclosing PP's name to the authorities.
                     Notwithstanding the foregoing, if DD is informed that or should or if it is believed that either of
                     PP has possession, custody and/or control of any of the Property after die date of this Agreement
                     and/or transferred any copies to any Third Party, and/or it is believed that any of PP, whether
                     directly or indirectly, intends the release, use, display, dissemination, disclosure or exploitation,
                     whether actual, threatened or rumored, of any for the Property, then DD and his counsel shall be
                     entitled to, at DD's sole discretion, (i) contact the respective member of PP, including with legal
                     demands and related statements of liability and legal action, and/or (ii) advance a civil action
                     against the respective member of PP, and/or (iii) disclose any of PP's name to the authorities.

                                     4.3.2 Representations & Warranties and Agreements Bv PP. The following
                     agreements, warranties and representations are made by PP as material inducements to DD to
                     enter into this Agreement, without which DD would not enter into this Agreement and without
                     which DD would not agree to pay any monies whatsoever hereunder, and with the express
                     acknowledgment that DD is executing this Agreement in reliance on the agreements, warranties,
                     and representations herein which are at the essence of this Agreement, including, the following:

                                     (a)     PP agrees and wan-ants and represents that PP will permanently cease and
                     desist from any efforts to and/or attempting to and/or engaging in and/or arranging toe use,
                     License, distribution, dissemination or sale of any of the Confidential Information and/or
                     Property, including any Tangible and/or Intangible Confidential information created by or
                     relating to DD;

                                    (b)     PP agrees and warrants and represents that PP will permanently cease and
                     desist from any posting or dissemination or display of toe Confidential Information, Tangible
                     and/or Intangible Confidential information created by or relating to DD and/or Property,
                     including the Images (including, but not limited to, to any form media outlet, on any blog or
                     posting board, on the Internet, or otherwise);

                                    (c)     PP agrees and warrants and represents that PP will permanently cease and
                     desist from using or disseminating or disclosing any information to any Third Persons (including,
                     but not limited to, to any media outlet, on any blog or posting board, on the Internet, or
             &       otherwise) about any details of or as to the contents of toe Confidential Information, Tangible
                     and/or Intangible Confidential information created by or relating to DD and/or Property,
             i&'     including any Text Messages, and/or as to any other personal details of or about or pertaining to
              v..
                     DD and/or his family and/or friends and/or social interactions;
             Nr1

             I".*'                  (d)     PP agrees and warrants and represents that PP will permanently cease and
                     desist from and will not, at any time, make any use of or reference to the name, image or likeness



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                  of DD in any manner whatsoever, including without limitation, through any print or electronic
                  media of any kind or nature for any purpose, including, but not limited to, on any websites;

                                (e)    PP agrees and warrants and represents that any and all existing copies of
                  the Images, Text Messages and any Property (other than as expressly specified in paragraphs 3,2
                  and 3 .3 herein) have been turned over and provided to counsel; and PP further warrants and
                  represents that the only copy of the Images and Property that has ever existed, at any time, has
                  been turned over to DD's counsel pursuant to this Agreement, and the Images and any Property
                  has never been transferred to or existed in any other form, including not in electronic form, nor
                  on any computer, or electronic device and other storage media;


                                 (f)    PP warrants and represents that PP has not provided any copies, whether
                  hard-copy or electronic copies, of the Property to anyone other than as specified in paragraph 4.2
                  herein);

                                  (g)     PP warrants and represents that the information PP is obligated to provide
                  pursuant to the terms herein will be complete and truthful;


                                 (h)     PP warrants and represents that PP has not omitted or withheld any
                  information that PP is obligated to provide pursuant to the terms herein;

                                (i)     PP warrants and represents that PP has not contracted to earn and/or
                 collect any monies as compensation from the sell, license and/or any other exploitation ofthe
                 Images and/or any Property and/or any Confidential Information, Tangible and/or Intangible
                 Confidential information created by or relating to DD nor any monies as compensation or an
                 advance for any efforts to sell, license and/or any other exploitation of the Images and/or any
                 Property and/or any Confidential Information or any Tangible and/or Intangible Confidential
                 information created by or relating to DD;

                                 (j)     PP warrants and represents that PP has not assigned nor transferred, either
                 in whole or in part, any purported rights in or to the Images and/or any Property to any other
                 person or entity, other than to DD pursuant to this Agreement.

                                  4.3.3 Agreement Bv PP Not to Disclose/Use Confidential Information. Tangible
                 and/or Intangible Confidential information created by or relating to DD. As further material
                 inducements for DD to enter into this Agreement, PP agrees, represents and warrants that she
                  shall not directly or indirectly, verbally or otherwise, publish, disseminate, disclose, post or cause
                 to be published, disseminated, disclosed, or posted (herein "disclose"), any Confidential
                 Information or Tangible and/or Intangible Confidential information created by or relating to DD
                 to any person, group, firm or entity whatsoever, including, but not limited to, family members,
                 friends, associates, journalists, media organizations, newspapers, magazines, publications,
                 television or radio stations, publishers, databases, blogs, websites, posting boards, and any other
                 enterprise involved in the print, wire or electronic media, including individuals working directly
           •h.   or indirectly for, or on behalf of, any of said persons or entities ("Third Parties" and/or Third
                 Party"). In no event shall PP be relieved of such party's confidentiality obligations herein by
                 virtue of any breach or alleged breach of this Agreement. In no event shall any dispute in
                 connection with this Agreement relieve PP of her confidentiality obligations arising pursuant to
                 this Agreement, and any disclosure of Confidential Information and/or Tangible and/or
           iS*
                 Intangible Confidential information created by or relating to DD in connection with any such

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                                                               Page 7
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                     proceeding or dispute shall constitute a breach of this Agreement. PP shall use their best efforts
                     to prevent the unauthorized disclosure of Confidential Information in connection with any such
                     proceeding or dispute.

                                    4.3.4 Any direct or indirect disclosure of Confidential Information or Tangible
                     and/or Intangible Confidential information created by or relating to DD to any Third Party by PP
                     and/or any of her representatives, heirs, agents, children, family members, relatives , confidents,
                     advisors, employees, attorneys, transferors, transferees, successors or assigns, and/or any friend
                     of any of PP (collectively "PP Group1'), after the date of this Agreement, shall be deemed a
                     disclosure by PP in breach of the terms of this Agreement, entitling the non-breaching Party to
                     all rights and remedies set forth herein.

                                    4.3.5 PP separately and further warrants and represent that, prior to entering into
                     this Agreement, that she has not written, published, caused to be published, or authorized the
                     writing, publication, broadcast, transmission or public dissemination of any interview, article,
                     essay, book, memoir, story, photograph, film, script, Images tape, biography, documentary,
                     whether written, oral, digital or visual, whether fictionalized or not, about the opposing Party to
                     this Agreement or their family, whether truthful, laudatory, defamatory, disparaging, deprecating
                    or neutral, which discloses any Confidential Information and/or which includes any description
                    or depiction of any kind whatsoever whether fictionalized or not, about any Party to this
                    agreement or their respective family, other than as expressly disclosed by PP hereto in writing
                    and as set forth herein in paragraph 4.2 above.

                                  4.3.6 Agreement Bv PP Not to Disparage DP. PP hereby irrevocably agrees
                    and covenants that she shall not, directly or indirectly, publicly disparage DD, nor write, publish,
                    cause to be published, or authorize, consult about or with or otherwise be involved in the writing,
                    publication, broadcast, transmission or dissemination of any book, memoir, letter, story,
                    photograph, film, script, Images, interview, article, essay, biography, diary, journal,
                    documentary, or other written, oral, digital or visual account or description or depiction of any
                    kind whatsoever whether fictionalized or not, about DD or his family, whether truthful,
                    laudatory, defamatory, disparaging, deprecating or neutral PP further warrants and represents
                    that PP has not and will not enter into any written or oral agreement with any third party
                    purportedly requiring or obligating PP to do so. Fore greater clarity PP will never discuss with
                    anyone the contents of this Settlement Agreement, nor will she voluntarily confirm the existence
                    of this Settlement Agreement.

                            4.4      Disclosure Of Confidp-nrial Information Is Prohibited: The Parties to this
                    Agreement hereby recognize and agree that substantial effort and expense have been dedicated to
                    limit the efforts of the press, other media, and the public to learn of personal and business affairs
                    involving DD. PP further acknowledges that any future disclosure of Confidential Information
                    to any Third Party would constitute a serious and material breach of the terms of this Agreement,
                    and shall constitute a breach of trust and confidence, invasion of privacy, and a misappropriation
                    of exclusive property rights, and may also constitute fraud and deceit. Some of the Confidential
                    Information may also constitute and include proprietary business information and trade secrets
           i$3
           in       which have independent economic value. The Parties hereto acknowledge that any unauthorized
                    use, dissemination or disclosure of Confidential Information, or the fabrication and
           I'v-1
           •cj*     dissemination of false and/or misleading information, about DD would result in irreparable
           I,.---

           CP
                    injury to him, and would be injurious to a reasonable person, and/or would constitute an
                    hyunpus violation of the right of privacy or publicity, and/or would be injurious to his business,

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                                                                                                                     DD
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                    profession, person, family and/or career. The Parties acknowledge
                                                                                          that substantial and valuable
                    property rights and other proprietary interests in the exclusive possess
                                                                                             ion, ownership and use of
                    Confidential Information, and recognizes and acknowledges that such
                                                                                              Confidential Information
                    is a proprietary, valuable, special and unique asset which belongs
                                                                                        to DD and to which the PP has
                    no claim of ownership or other interest.

                                   4.4, 1  Disclosures Permitted Bv PP. Notwithstanding the foregoin
                                                                                                       g, PP shall
                    only be permitted to disclose Confidential Information to another
                                                                                      person or entity only if
                    compelled to do so by valid legal process, including without limitatio
                                                                                           n a subpoena duces tecum
                    or similar legal compulsion, provided that PP shall not make any
                                                                                       such disclosure unless PP has
                    first provided DD with notice of such order or legal process not
                                                                                     less than ten (10) days in
                    advance of the required date of disclosure pursuant to the Written
                                                                                       Notice provisions set forth
                    hereinbelow, providing DD with an opportunity to intervene and
                                                                                      with full and complete
                    cooperation should she choose to oppose such disclosure. PP agrees
                                                                                          that if the valid legal process
                    can be stopped by her consent or at her behest then PP shall
                                                                                 agree to use best efforts to avoid the
                    disclosure of the Confidential Information.




                           5.0     REMEDIES

                            5.1    DD's Remedies for Breach of Agreement. Each breach or threaten
                                                                                                         ed breach (e.g. ,
                   conduct by PP reflecting that said person intends to breach the
                                                                                    Agreement), including without
                   limitation by breach of any representation or warranty, by failing
                                                                                       to deliver to DD all tangible
                   Property as required, by the disclosure or threatened disclosu
                                                                                  re of any Confidential Information
                   to any Third Party by PP (herein "Prohibited Communication"),
                                                                                      or otherwise, shall render PP
                   liable to DD for any and all damages and injuries incurred as a result
                                                                                           thereof, including but not
                   limited to the following, all of which rights and remedies shall
                                                                                    be cumulative*.

                                  5.1.1 Disgorgement of Monies: In the event an Arbitrator determin
                                                                                                         es there has
                   been a breach or threatened breach of this Agreement by PP, PP shall
                                                                                          be obligated to account to,
                   and to disgorge and turn over to DD any and all monies, profits, or
                                                                                       other consideration, or
                   benefits, which PP, or anyone on PP's behalf or at PP's direction, directly
                                                                                               or indirectly derive
                   from any disclosure or exploitation of any of the Confidential Informa
                                                                                          tion; gnd

                                   5.1.2 Liquidated Damages: PP agrees that any breach or violation
                                                                                                          of this
                   Settlement Agreement by either of PP individually or the PP Group
                                                                                        by his/her/their unauthorized
                   disclosure of any of the Confidential Information (as defined in paragrap
                                                                                             hs 4. 1(a), (b), (c), and
                   (d)) to any Third Party, and/or any unauthorized exploitation or prohibite
                                                                                              d use of die same,
                   and/or by the breach of and/or by any false representations and
                                                                                   warranties set forth in this
                   Agreement, and/or any public disparagement of DD by PP
                                                                               (collectively, the "LD Breach
                   Terms"), shall result in substantial damages and injury to DD, the precise amount
                                                                                                        of which
                   would be extremely difficult or impracticable to determine, even
                                                                                    after the Parties have made a
                   reasonable endeavor to estimate fair compensation for such
                                                                                potential losses and damages to DD.
                   Therefore, in addition to disgorgement of the full amount of all
           >:P                                                                       monies or other consideration
           •v
                   pursuant to paragraph 5,1.2, in the event an Arbitrator determin
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                                                                                    es there has been a breach of the
                   LD Breach Terms of this Agreement by PP individually or the
                                                                                   PP Group, PP shall also be
                   obligated to pay, and agree to pay to DD the sum of One-Million
                                                                                      Dollars ($1 ,000,000.00 as a
                   reasonable and fair amount of liquidated damages to compensate
                                                                                  DD for any loss or damage

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                  resulting from each breach, it being understood that the Liquidated damages calculation is on a
                  per item basis. The Parties agree that such sum bears a reasonable and proximate relationship to
                  the actual damages which DD will or might suffer from each breach of the terms of this
                  Agreement and that this amount is not a penalty. Alternatively, at DD's sole discretion, DD may
                  seek to recover actual damages proximately caused by each such breach, according to proof.
                  Any other breaches not a LD Breach Terms shall be subject to a claim for actual damages
                  according to proof; furthermore, any monies held in Trust by PP's Attorney shall be frozen and
                   shall not be disbursed to PP until the Arbitrator finally resolves the allegation of Breach.


                                 5.1.3 Injunctive Relief PP acknowledges and agrees that any unauthori2ed
                  disclosure to Third Parties of any Confidential Information will cause irreparable harm to DD,
                  which damages and injuries will most likely not be measurable or susceptible to calculation. PP
                  further acknowledges and agrees that any breach or threatened breach of this Agreement due to
                  the unauthorized disclosure or threatened disclosure by PP to Third Parties, of any Confidential
                  Information shall entitle DD to immediately obtain, either from the Arbitrator and/ or from any
                  other court of competent jurisdiction, an ex parte issuance of a restraining order and preliminary
                  injunction or other similar relief (herein "Injunctive Relief) without advance notice to any of
                  PP, preventing the disclosure or any further disclosure of Confidential Information protected by
                  the terms hereof, pending the decision of the Arbitrator or Court. The Parties further
                  acknowledge and agree that in connection with any such proceeding, any Party may obtain from
                  the Court or Arbitrator on an ex parte application or noticed motion without opposition, an order
                  sealing the file in any such proceeding, and the Parties stipulate to the factual and legal basis for
                  issuance of an order sealing the file in any such proceedings. The rights and remedies set forth
                  in this Injunctive Relief Section are without prejudice to any other rights or remedies, legal or
                  equitable, that the Parties may have as a result of any breach of this Agreement

                           5.2    Dispute Resolution, hi recognition of the mutual benefits to DD and PP of a
                  voluntary system of alternative dispute resolution which involves binding confidential arbitration
                  of all disputes which may arise between them, it is their intention and agreement that any and all
                  claims or controversies arising between DD on the one hand, and PP on the other hand, shall be
                  resolved by binding confidential Arbitration to the greatest extent permitted by law. Arbitration
                  shall take place before JAMS ENDISPUTE ("JAMS") pursuant to JAMS Comprehensive
                  Arbitration Rules and Procedures (including Interim Measures) ("JAMS Rules") and the law
                  selected by DD, (such selection shall be limited to either, California, Nevada or Arizona), or
                  before ACTION DISPUTE RESOLUTION SERVICES ("ADRS") pursuant to the ADRS Rules
                  (including Interim Measures) and the law selected by DD (whichever the claimant elects upon
                  filing an arbitration), in a the location selected by DD, and will be heard and decided by a sole,
                  neutral arbitrator ("Arbitrator") selected either by agreement of the Parties, or if the Parties are
                  unable to agree, then selected under the Rules of the selected arbitration service. The costs and
                  fees associated with any Arbitrator and/or Arbitration service shall be split equally among the
                  parties to any such dispute. The Parties shall have the right to conduct discovery in accordance
                  with the California Code of Civil Procedure Section 1283.05 et. seq. or any similar provision
           a?
           i;.V   existing in the jurisdiction selected by DD and the written discovery requests and results of
           >CP
                  discovery shall be deemed to constitute Confidential Information. The Arbitrator shall have the
                  right to impose all legal and equitable remedies that would be available to any Party before any
           '.S.
                  governmental dispute resolution forum or court of competent jurisdiction, including without
           <rP    limitation temporary, preliminary and permanent injunctive relief, compensatory damages,
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           J*1    liquidated damages, accounting, disgorgement, specific performance, attorneys fees and costs,



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                                                                                                                   DD
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                           and punitive damages. It is understood and agreed that each of the Parties shall bear his/its own
                           attorneys' fees, expert fees, consulting fees, and other litigation costs (if any) ordinarily
                           associated with legal proceedings taking place in a judicial forum, subject to the Arbitrator's
                           reassessment in favor of the prevailing party to die extent permitted by law. Each of the Parties
                           understands, acknowledges and agrees that by agreeing to arbitration as provided herein,
                           each of the Parties is giving up any right that he/she/it may have to a trial by judge or jury
                           with regard to the matters which are required to be submitted to mandatory and binding
                           Arbitration pursuant to the terms hereof. Each of the Parties further understands,
                           acknowledges and agrees that there is no right to an appeal or a review of an Arbitrator's
                           award as there would be a right of appeal or review of a judge or jury's decision.

                                   6.0    MUTUAL RELEASES

                                    6. 1  Except for the rights and obligations of the Parties set forth in this Agreement,
                           DD, for himself and each of his representatives, agents, assigns, heirs, partners, companies,
                           affiliated companies, employees, insurers and attorneys, absolutely and forever releases and
                           discharges PP, individually, and all of PP's heirs, and PP's attorneys, and each of them ("PP
                           Releasees"), of and from any and all claims, demands, damages, debts, liabilities, accounts,
                           reckonings, obligations, costs (including attorney's fees), expenses, liens, actions and causes of
                           actions of every kind and nature whatsoever, whether known or unknown, from the beginning of
                           time to the effective date of this Agreement, including without limitation any and all matters,
                           facts, claims and/or defenses asserted or which could have been asserted in the Matter, or which
                           could have been asserted in any other legal action or proceeding, except as may be provided
                           herein (the "DD Released Claims").

                                   6.2    Except for the rights and obligations of the Parties set forth in this Agreement, PP,
                           for herself, and her representatives, agents, assigns, heirs, partners, companies, affiliated
                           companies, employees, insurers and attorneys, absolutely and forever release and discharge DD,
                           individually, and each of his representatives, agents, assigns, heirs, partners, companies,
                           affiliated companies, subsidiaries, employees, attorneys, successors, insurers, and each of them
                           ("DD Releasees"), of and from any and all claims, demands, damages, debts, liabilities,
                           accounts, reckonings, obligations, costs (including attorney's fees), expenses, liens, actions and
                           causes of actions of every kind and nature whatsoever, whether known or unknown, from the
                           beginning of time to the date of this Agreement, including without limitation any and all matters,
                           facts, claims and/or defenses asserted or which could have been asserted in the Action, or which
                           could have been asserted in any other legal action or proceeding (the 'TP Released Claims")..

                                  6.3    The subject matter referred to in paragraphs 6.1 and 6.2, above (i.e., the DD
                           Released Claims and PP Released Claims), are collectively referred to as the "Released Matters."

                                  6.4     The Parties hereto, and each of them, hereby warrant, represent and agree that
                           each of them is fully aware of § 1 542 of the Civil Code of the State of California, which provides
             i'P           as follows:

             >P                           "A general release does not extend to claims which the creditor
                                          does not know or suspect to exist in his favor at the time of
             \-.o                         executing the release, which if known by Him must have materially
             ),>r,
                                          affected his settlement with the debtor."
             IS*




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                     The Parties, and each of them, voluntarily waive the provisions of California Civil Code
                     § 1542, and any other similar federal and state law as to any and all claims, demands,
                    causes of action, or charges of every kind and nature whatsoever, whether known or
                     unknown, suspected or unsuspected.

                                          6.4. 1   For avoidance of any doubt, by virtue of this Settlement and this
                                          Settlement Agreement, the parties hereby waive any unknown claims
                                          against each other individually, and each of their representatives, agents,
                                          assigns, heirs, partners, companies, affiliated companies, subsidiaries,
                                          employees, attorneys, successors, insurers, and each of them.

                            6.5     Each of the Parties hereto acknowledges and agrees that this Agreement
                    constitutes a settlement and compromise of claims and defenses in dispute, and shall not be
                    construed in any fashion as an admission of liability by any party hereto.

                            7.0     CONFIDENTIAIJTY OF THIS AGREEMENT

                            7. 1    The Parties, respectively, shall not to disclose the terms of this Agreement, either
                    directly or indirectly, to the media or to anyone else other than their respective attorneys and
                    representatives and/or as may be required by law. PP may not comment or make any press
                    releases or otherwise discuss the resolution of the subject of this Agreement.

                            8.0     MISCELLANEOUS TERMS

                           8.1     Entire Agreement. This Agreement constitutes the entire agreement and
                   understanding concerning the Released Matters hereof between the Parties hereto and supersedes
                   any and all prior negotiations and proposed agreement and/or agreements, written and/or oral,
                   between the Parties. Each of the Parties hereto acknowledges that neither they, nor any other
                   party, nor any agent or attorney of any other party has made any promise, representation, or
                   warranty whatsoever, expressed or implied, written or oral, which is not contained herein,
                   concerning the subject matter hereof, to induce it to execute this Agreement, and each of the
                   Parties hereto acknowledges that she/he has not executed this Agreement in reliance on any
                   promise, representation, and/or warranty not contained herein. This Agreement shall be binding
                   on and inure to the benefit of the Parties, the Releasees, and each of their respective successors
                   and assigns and designees.

                           8.2     DD's Election of either California. Nevada or Arizona Law & Venue. This
                   Agreement and any dispute or controversy relating to this Agreement, shall in all respects be
                   construed, interpreted, enforced and governed by the laws of the State of California, Arizona or
                   Nevada at DD's election. Attorneys' Fees in the case of a Dispute, hi the event of any dispute,
                   action, proceeding or controversy regarding the existence, validity, interpretation, performance,
                   enforcement, claimed breach or threatened breach of this Agreement, the prevailing party in any
           &       resulting arbitration proceeding and/or court proceeding shall be entitled to recover as an element
                   of such Party's costs of suit, and not as damages, all attorneys' fees, costs and expenses incurred
                   or sustained by such prevailing Party in connection with such action, including, without
           •.S.    limitation, legal fees and costs.
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           "ifc"




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                            8.3     Attorney Fees and Costs in Formation of this Agreement. The Parties shall
                                                                                                              each
                    bear their own costs, expert fees, attorneys' fees and other fees
                                                                                      incurred in connection with the
                    creation this Settlement Agreement.

                            8.4     Waivers: Modification. This Agreement cannot be modified or
                                                                                                    changed except
                    by written instrument signed by all of the Parties hereto. No
                                                                                  waiver of any of the provisions of
                    this Agreement shall be deemed to constitute a waiver of any
                                                                                  other provision, whether or not
                    similar, nor shall any waiver constitute a continuing waiver.
                                                                                  No waiver shall be binding unless
                    executed in writing by the party making the waiver.

                            8.5     Scone of Provisions/Severabilitv/Headings. None of the Parties
                                                                                                        hereto shall be
                     deemed to be the drafter of this Agreement, but it shall be deemed
                                                                                          that this Agreement was
                    jointly drafted by each of the Parties hereto. Should any provision
                                                                                           of this Agreement be found to
                    be ambiguous in any way, such ambiguity shall not be resolved
                                                                                       by construing this Agreement in
                    favor of or against any party herein, but rather construing the terms
                                                                                           of this Agreement as a whole
                    according to their fair meaning. In the event that any provisio
                                                                                     n hereof is deemed to be illegal or
                    unenforceable, such a determination shall not affect the validity
                                                                                       or enforceability of the
                    remaining provisions thereof, all of which shall remain in foil force
                                                                                           and effect Notwithstanding
                    the foregoing, if a provision is deemed to be illegal the Parties
                                                                                      agree to waive any defense on
                    said grounds. In the event that such any provision shall be deemed
                                                                                          invalid due to its scope or
                    breadth, such provision shall be deemed valid to the extent of
                                                                                    the scope or breadth permitted by
                    law. The captions appearing at the commencement of certain
                                                                                    paragraphs herein are descriptive
                    only and for convenience of reference. Should there be any
                                                                               conflict between any such caption or
                    heading and the paragraph at the caption of which it appears, the
                                                                                      paragraph, and not such
                    caption, shall control and govern.


                           8.6    Advice of Counsel and Understanding of this Binding Agreement.
                                                                                                       Each of the
                   Parties represents, acknowledges, and declares that she/he has
                                                                                  received the advice of legal
                   counsel of his/her own choosing regarding the form, substance,
                                                                                   and effect of this Agreement
                   Each of the Parties represents, acknowledges, and declares that
                                                                                   she/he has carefully read this
                   Agreement, knows and understands this Agreement's contents, and
                                                                                   signs this Agreem       ent freely,
                   voluntarily, and without either coercion or duress. Each of the
                                                                                   Parties represents and warrants
                   that she/he is fully competent to manage his/her business affairs,
                                                                                      and that she/he has full power
                   and authority to execute this Agreement, and to do any and all of
                                                                                      the things reasonably required
                   hereunder, and that this Agreement, when signed by all Parties, is
                                                                                      a valid and binding agreement,
                   enforceable in accordance with its terms.

                          8.7    Further Execution. In order to carry out the terms and conditions
                                                                                                   of this
                   Agreement, PP agrees to promptly execute, upon reasonable request,
                                                                                       any and all documents and
                   instruments necessary to effectuate the terms of this Agreement

                           8. 8    Notice Provisions. Any notice, demand or request that one Party
                                                                                                      desires, or is
           go      required to give (including service of any subpoena, court pleading
                                                                                       s, summons and/or
                   complaint), to the other Party must be promptly communicated
                                                                                   to the other Party by using their
                   respective contact information below, by both (i) e-mail or facsimil
                                                                                       e; and (ii) telephone. Either
                   Party may change his or her contact information by notifyin
                                                                               g foe other Party of said change(s)
           l-.v'
                   pursuant to the applicable terms herein.
           |-.M"

           If*




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                                                                                                                   DD
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                                   8.8.1   To DP as follows:


                                                                Cc^sjjrTUrr^ , LUl
                                            CAw /HrCtfASK* QhtfmrJ
                                             \*k* frn#                        tszA.
                                             bfart              M Y sce&St




                                   8.8.2   To PP. as follows:

                                           C/O KEITH M. DAVIDSON, ESQ.
                                           8383 Wilshiie Boulevard, Suite 510
                                           Beverly Hills, CA 902 11
                                           tel. 323.658.5444
                                           fax. 323-658-5444
                                           e-mail: keitii@KmdLaw.com

                           8.9 . This Agreement may be execu
                                                                ted with one or more separate counterpa
                   which, when so executed shall be deem                                                  rts, each of
                                                         ed to be an original and, together shall
                   one and the same instrument. Any execu                                         constitute and be
                                                          ted copies or signed counterparts of this
                   Declaration, and any other documentation                                          Agreement, the
                                                            may be executed by scanned/printed pdf
                   signatures and/o                                                                   copies of
                                    r facsimile signatures, which shall be deem
                                                                                ed to have the same force and effect
                   as if they were original signatures.
                                                                                  .
                          IN WITNESS WHEREOF,          by their signatures below, the Partie
                                                                                               s each have approved
                   and executed this Agreement as of the
                                                         effective date first set forth above.




                   DATED:                     ,2016
                                                                     DD
                                                                                                            /
                                                                                                                 Z
                   DATED:   fid- ZST , 2016                                                            21
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                                                                                         JfelSr          erica JACKSON         51


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                                                                                                   Comrrv E*Pltea 01 >04-2020
           ('•V!
           P
                   DATED: tojgQ               .2016                                                  Notary ID >30483626
           t,w.

           y.-i
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                                                                                                                     DD
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                                                      As to Form:

                  DATED: ft/}/ j > Iff . 2016

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                                                     ftfftithM TWiHarm, Psq-7^nfttnp!yf'ftT'




                  DATED:               ,2016         As to Form:




                                                     Attorney for DD




                  DATED:                2016         As to Form:




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                                                    Attorney for Mi




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                             EXHIBIT 2
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                                     EXHIBIT "A" TO THE CONFIDENTIAL
                                  SETTLEMENT AGREEMENT AND RELEASE;
                                        ASSIGNMENT OF COPYRIGHT AND NON-
                                              DISPARAGMENT AGREEMENT

                                                   SIDE LETTER AGREEMENT


                                                     DATED /D                          ! 2016.

                          To Whom It May Concern:


                                 This Side Letter agreement is entered into by and on behalf of the Parties with
                          respect to the Confidential Settlement Agreement and Mutual Release entered into by and
                          between them on or about /9&T 3. X             . 2016 ("Settlement Agreement"), in which
                          Stephanie Gregory Clifford aJc^StormWJaniek is referred to by the pseudonym,
                          "PEGGY PETERSON," and                                 is referred to by the pseudonym
                          "DAVID DENNISON."


                                 It is understood and agreed that the true name and identity of the person referred
                         to as " PEGGY PETERSON " in the Settlement Agreement is Stephanie Gregory Clifford
                         a.k.a. Stormy Daniels and that any reference or designation to PEGGY PETERSON shall
                         be deemed the same thing as referring to Stephanie Gregory Clifford a.k.a, Stormy
                         Daniels by her true name as identified herein.


                                 It is understood and agreed that the true name and identj^ofthywgmyp ferred
                         to as "DAVID DENNISON" in the Settlement Agreement is                        and
                         that any referenc^rdesienatioMo DAVID DENNISON shmrt^eeme^h^ame thing
                         as referring                         by his true name as identified herein.

                                It is understood and agreed that the trm                                        Tred to
                         as "EC, LLC" in the Settlement Agreement is                                            L-LC
                         and that any referenc^>^esigatior^^CJ^                si      e deemed the same thing as
                         referring to                                          *»*•<     . by Ms*true name as
                         identified herein.

                                 It is further acknowledged and agreed by the parties that notwithstanding the
                         provisions of Paragraph 7. 1 of the Settlement Agreement (which provides that the
               i;v
                         Settlement Agreement constitutes the entire agreement between the Parties with respect
                         to the matters herein and in supersedes' all prior and contemporaneous oral and written
               <:p
               -v.
                         agreements and discussions pertaining to the matters herein), this Side Letter agreement
               I'/-1
                         shall be deemed part of the agreement between the Parlies. Accordingly, Paragraph 7. 1 of
               I-.'-*'
                         the Settlement Agreement is hereby amended via supplanting to provide as follows:


                                         ,(y*Ll Integration. The Side Letter agreement entered
                                         into by the Parties concurrently with their entry into this
                                         Agreement shall be deemed part of this Agreement, and
                                         this Agreement and the Side Letter agreement together
                                         constitute the entire agreement between the Parties with
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                                             respect to the matters herein and supersedes all prior
                              '              and contemporaneous oral and written agreements and
                                             discussions pertaining to the matters herein."

                                     For avoidance of doubt, it is further agreed that this Side Letter agreement shall
                             constitute Confidential Information as defined in the Settlement Agreement, that
                                                                                                              neither
                             this Side Letter agreement nor any portion hereof may be disclosed to anyone except as
                             and to the extent expressly provided in the Settlement Agreement, and that any
                             unauthorized disclosure or use of this Side Letter agreement or any portion hereof
                                                                                                                shall
                             constitute a material breach of the confidentiality provisions ofthe Settlement
                             Agreement.                                                                    .

                                     It is further agreed that neitheniarfrshal^gj^^^^^yjuis document, and that
                             only Keith M, Davidson, Esq. AND
                                                                                                    counsel for the parties
                             herein), shall maintain possession of it or access to this Side Letter agreement. FOR
                             AVOIDANCE OF DOUBT, THE PARTIES HERETO AGREE AND CONFIRM THAT
                             THIS SIDE LETTER AGREEMENT IS DEEMED "ATTORNEY'S EYES ONLY."


                                     This Side Letter agreement may be executed in counterparts and when each Party
                             has signed and delivered one such counterpart to the other Party, each counterpart shall
                             be deemed an original, and all counterparts taken together shall constitute one and
                                                                                                                 the
                            same Agreement, which shall be binding and effective as to the Parties. The Agreement
                            may be executed by facsimile or electronic PDF signatures, which shall have the same
                            force and effect as if they were originals.

                                    By signing below, each of the Parties signifies their agreement to die terms hereof
                            and each of tjrair respective counsel signify their approval as to the form of this letter
                            agreement                   '
                                                 /



                                                        t                                     to
                            PEGGY PETERSON a^£a. Stephanie Gregory                         dab
                            Clifford a.k.a. Stormy Daniels

                                                                                                                         ER,CA jACKSON
                                                                                                                 Notary Public. Stale ot lexas
                                                                                                                  Comm. Expires 01-04-2020
                                                                                                                    Notary IP 130483626

                            DAVID DENNISON a.k.a.                                          date




                                        0                                                  yo/Jt /te
               >0           Keith M. Davidson, Esq.                                        date
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               tip
                                                             Esq.                          date
